            Case 1:21-cv-01751-RDM Document 8 Filed 08/20/21 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
 QUYNH VU BAIN,                                   )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )       Civil Action No. 21-01751 (RDM)
                                                  )
 OFFICE OF THE ATTORNEY GENERAL,                  )
 et al.,                                          )
                                                  )
                Defendants.                       )
                                                  )

               MOTION FOR EXTENSION OF TIME TO FILE RESPONSE

       Defendants, by and through the undersigned counsel, respectfully move for an extension

of time to respond to Count I of Plaintiff’s complaint, ECF No. 1, pursuant to Rule 6(b) of the

Federal Rules of Civil Procedure. Per 5 U.S.C. § 552(a)(4)(C) and Rule 12(a)(2), Defendants’

response to the Count I was due on August 18, 2021. Defendants respectfully ask the Court to

extend the deadline to respond by thirty days, up to, and including September 17, 2021.

       In support of this motion, Defendants state the following:

       1.      Plaintiff brings claims under the Freedom of Information Act (“FOIA”), 5 U.S.C.

§ 552 (Count I), Title VII of the Civil Rights Act of 1965, 42 U.S.C. § 2000e-16 and the Age

Discrimination in Employment Act, 29 U.S.C. § 701 (Count II), and the Whistleblower Protection

Act, 5 U.S.C. § 2302(b) (Count III). Compl. ¶¶ 91–112. Plaintiff served the U.S. Attorney on July

19, 2021. Thus, Defendants’ response to Plaintiff’s FOIA claim was due on July 18, 2021, and
            Case 1:21-cv-01751-RDM Document 8 Filed 08/20/21 Page 2 of 3




Defendants’ response to the non-FOIA claims is due on September 17, 2021. See 5 U.S.C.

§ 552(a)(4)(C); Fed. R. Civ. P. 12(a). 1

       2.      This is Defendants’ first request for an extension of the deadline to file a response

to Count I of Plaintiff’s Complaint.

       3.      Plaintiff will not be prejudiced by the extension. The alignment of the response

dates will allow for a more efficient handling of Plaintiff’s complaint.

       4.      Counsel for Defendants was unable to ascertain Plaintiff’s position on this motion.

On August 20, 2021, the undersigned counsel contact Plaintiff via telephone and left a message

but has not received a return call.

       WHEREFORE, based on the foregoing, Defendants respectfully request that the Court

grant this motion nunc pro tunc.

Dated: August 20, 2021                                Respectfully Submitted,

                                                      CHANNING D. PHILLIPS
                                                      D.C. Bar No. 415793
                                                      Acting United States Attorney

                                                      BRIAN P. HUDAK
                                                      Acting Chief, Civil Division

                                                      /s/ Joseph F. Carilli, Jr.
                                                      JOSEPH F. CARILLI, JR.
                                                      N.H. Bar No. 15311
                                                      Assistant United States Attorney
                                                      555 4th St. N.W.
                                                      Washington, D.C. 20530
                                                      Telephone: (202) 252-2561
                                                      E-mail: joseph.carilli@usdoj.gov

                                                      Counsel for Defendants

1
        The docket reflects a response date of September 12, 2021 to the Complaint, which is based
on of the incorrect service date of July 14, 2021. Plaintiff served the Complaint via mail on July
14, 2021, but the U.S. Attorney did not receive the Complaint until July 19, 2021.



                                                 2
         Case 1:21-cv-01751-RDM Document 8 Filed 08/20/21 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I certify that on August 23, 2021, I served the foregoing upon Plaintiff by sending a copy

of the document to the following address via U.S. mail:

       Quynh Vu Bain
       213 Third St. S.E.
       Washington, DC 20003

                                                    /s/ Joseph F. Carilli, Jr.
                                                    JOSEPH F. CARILLI, JR.
                                                    Assistant United States Attorney

                                                    Counsel for Defendants
